                 IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                            NORTHERN DIVISION

In re:                                     )
                                           )
MICHAEL G. DOMBROWSKI,                     )       Case No.: 16-81412-CRJ-11
SSN: xxx-xx-4413                           )
                                           )
           Debtor.                         )       Chapter 11
                                           )




                DEBTOR’S FINAL AMENDED AND RESTATED
                      PLAN OF REORGANIZATION




                                      SPARKMAN, SHEPARD & MORRIS, P.C.
                                      P. O. Box 19045
                                      Huntsville, AL 35804
                                      Tel: (256) 512-9924
                                      Fax: (256) 512-9837

                                      Attorneys for Debtor in Possession




Dated: August 30, 2017




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                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
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In re:                                              )
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MICHAEL G. DOMBROWSKI,                              )         Case No.: 16-81412-CRJ-11
SSN: xxx-xx-4413                                    )
                                                    )
             Debtor.                                )         Chapter 11
                                                    )



   DEBTOR’S FINAL AMENDED AND RESTATED PLAN OF REORGANIZATION


       Michael G. Dombrowski (the "Debtor"), as Debtor and Debtor-in-possession, proposes
this Debtor’s Final Amended and Restated Plan of Reorganization (the "Plan") pursuant to
section 1121(a) of Title 11 of the United States Code for the resolution of the Debtor’s
outstanding creditor claims and equity interests. Reference is made to the Debtor’s Disclosure
Statement (the "Disclosure Statement") for a discussion of the Debtor’s history, business,
properties and results of operations, and for a summary of this Plan and certain related matters.

       All holders of Claims and Interests are encouraged to read the Plan and the Disclosure
Statement in their entirety before voting to accept or reject this Plan. No materials, other than the
Disclosure Statement and any exhibits and schedules attached thereto or referenced therein, have
been approved by the Debtor for use in soliciting acceptances or rejections of this Plan.

                                          ARTICLE 1
                                         DEFINITIONS

        As used herein, the following terms have the respective meanings specified below, and
such meanings shall be equally applicable to both the singular and plural, and masculine and
feminine, forms of the terms defined. The words "herein," "hereof," "hereto," "hereunder" and
others of similar import, refer to the Plan as a whole and not to any particular section, subsection
or clause contained in the Plan. Captions and headings to articles, sections and exhibits are
inserted for convenience of reference only and are not intended to be part of or to affect the
interpretation of the Plan. The rules of construction set forth in section 102 of the Bankruptcy
Code shall apply. In computing any period of time prescribed or allowed by the Plan, the
provisions of Bankruptcy Rule 9006(a) shall apply. Any capitalized term used but not defined
herein shall have the meaning ascribed to such term in the Bankruptcy Code. In addition to such
other terms as are defined in other sections of the Plan, the following capitalized terms have the
following meanings when used in the Plan.




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       1.1    "Administrative Claim" means a Claim for costs and expenses of administration
allowed under section 503(b) of the Bankruptcy Code and referred to in section 507(a)(1) of the
Bankruptcy Code.

        1.2    "Allowed Claim" means a Claim that is (a) not a Disputed Claim or (b) a Claim
that has been allowed by a Final Order.

          1.3    "Ballots" means the written Ballots for acceptance or rejection of the Plan.

        1.4     "Bankruptcy Code" or "Code" means Title 11 of the United States Code as now in
effect or hereafter amended.

        1.5    "Bankruptcy Court" means the United States Bankruptcy Court for the Northern
District of Alabama, Northern Division, which presides over this proceeding, or if necessary, the
United States District Court for said District having original jurisdiction over this case.

      1.6     "Bankruptcy Rules" means, collectively (a) the Federal Rules of Bankruptcy
Procedure, and (b) the local rules of the Bankruptcy Court, as applicable from time to time in the
Reorganization Case.

        1.7    "Business Day" means any day, other than a Saturday, Sunday or "legal holiday"
(as defined in Bankruptcy Rule 9006(a)).

        1.8     "Cash" means cash, wire transfer, certified check, cash equivalents and other
readily marketable securities or instruments, including, without limitation, readily marketable
direct obligations of the United States of America, certificates of deposit issued by banks, and
commercial paper of any Person, including interests accrued or earned thereon, or a check from
the Debtor.

        1.9     "Claim" means any right to payment from the Debtor arising before the
Confirmation Date, whether or not such right is reduced to judgment, liquidated, unliquidated,
fixed, contingent, matured, unmatured, contested, uncontested, legal, equitable, secured, or
unsecured; or any right to an equitable remedy for breach of performance if such breach gives
rise to a right of payment from the Debtor prior to the Confirmation Date, whether or not such
right to an equitable remedy is reduced to judgment, fixed, contingent, matured, unmatured,
contested, uncontested, secured or unsecured.

          1.10   "Class" means one of the classes of Claims or Interests defined in Article III
hereof.

        1.11 "Confirmation" means the entry of a Confirmation Order confirming this Plan at
or after a hearing pursuant to section 1129 of the Bankruptcy Code.

       1.12 "Confirmation Date" means the date the Confirmation Order is entered on the
docket of the Bankruptcy Court.




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       1.13 "Confirmation Order" means the order entered by the Bankruptcy Court
confirming the Plan pursuant to Section 1129 of the Bankruptcy Code.

        1.14   "Debtor" means Michael G. Dombrowski.

        1.15 "Disclosure Statement" means the Disclosure Statement filed by the Debtor as
approved by the Bankruptcy Court for submission to the Creditors, interest holders, and parties-
in-interest of the Debtor, as it may have been amended or supplemented from time to time.

       1.16 "Disputed Claim" means a Claim as to which a proof of claim has been Filed or
deemed Filed under applicable law, as to which an objection has been or may be timely Filed and
which objection, if timely Filed, has not been withdrawn on or before any date fixed for Filing
such objections by the Plan or Order of the Bankruptcy Court and has not been overruled or
denied by a Final Order. Prior to the time that an objection has been or may be timely Filed, for
the purposes of this Plan, a Claim shall be considered a Disputed Claim to the extent that: (i) the
amount of the Claim specified in the proof of claim exceeds the amount of any corresponding
Claim listed by the Debtor in their respective Schedules to the extent of such excess; (ii) any
corresponding Claim listed by the Debtor in their respective Schedules has been scheduled as
disputed, contingent, or unliquidated, irrespective of the amount scheduled; or (iii) no
corresponding Claim has been listed by the Debtor in their respective Schedules. Disputed
Claims also includes Claims subject to a pending action for equitable subordination of such
Claims.

        1.17 “Distributions" means the properties or interests in property to be paid or
distributed hereunder to the holders of Allowed Claims.

        1.18   “Docket" means the docket in the Reorganization Case maintained by the Clerk.

       1.19 "Effective Date" means the twentieth (20th) business day after an Order
confirming this Plan becomes final and no longer open for appeal, stay or reconsideration in
accordance with the Federal Rules of Bankruptcy Procedure and/or the Federal Rules of
Appellate Procedure or the first business day of the next calendar month, whichever is later.

       1.20 "Estate" means the estate created in this Reorganization Case under section 541 of
the Bankruptcy Code.

        1.21 "Executory Contract" means any unexpired lease and/or executory contract as set
forth in section 365 of the Code.

        1.22   "File" or "Filed" means filed with the Bankruptcy Court in the Reorganization
Case.

       1.23 "Final Order" means an order or judgment of the Bankruptcy Court, or other court
of competent jurisdiction, as entered on the Docket in the Reorganization Case, which has not
been reversed, stayed, modified or amended.




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        1.24 "Impaired" as to a Class means the Plan alters the legal, equitable or contractual
rights of a Claim or Interest holder within the meaning of 11 U.S.C. § 1124.

      1.25     "Order" means an order or judgment of the Bankruptcy Court as entered on the
Docket.

       1.26 "Person" means any individual, corporation, general partnership, limited
partnership, association, joint stock company, joint venture, estate, trust, indenture trustee,
government or any political subdivision, governmental unit (as defined in the Bankruptcy Code).

       1.27 "Petition Date" means May 11, 2016, the date on which Debtor filed the voluntary
Chapter 11 petition.

       1.28 "Plan" means this Plan of Reorganization in its present form, or as it may be
amended, modified, and/or supplemented from time to time in accordance with the Bankruptcy
Code, or by agreement of all affected parties, or by order of the Bankruptcy Court, as the case
may be.

       1.29    "Pre-Petition Tax Claim" means a Tax Claim that arises prior to the Petition Date.

        1.30 "Priority Claim" means all Claims entitled to priority under 11 U.S.C. §§ 507(a)
of the Bankruptcy Code, other than an Administrative Claim or a Tax Claim.

      1.31 "Pro Rata" means proportionately, based on the percentage of the distribution
made on account of a particular Allowed Claim bears to the distributions made on account of all
Allowed Claims of the Class in which the Allowed Claim is included.

       1.32 "Rejection Claim" means a Claim resulting from the rejection of a lease or
executory contract by the Debtor.

       1.33 "Reorganization Case" means, collectively, the Debtor’s case under Chapter 11 of
the Bankruptcy Code that was commenced on the Petition Date.

         1.34 "Schedules" means the Schedules of Assets and Liabilities, Statement of Financial
Affairs and Statement of Executory Contracts that may be filed by the Debtor with the
Bankruptcy Court, as amended or supplemented on or before the Confirmation Date, listing the
liabilities and assets of the Debtor.

        1.35 "Secured Claim" means any Claim that is secured by a lien on property in which
the Estate has an interest or that is subject to setoff under Section 553 of the Bankruptcy Code, to
the extent of the value of the Claim holder's interest in the Estate’s interest in such property or to
the extent of the amount subject to setoff, as applicable, as determined pursuant to section 506(a)
of the Bankruptcy Code.

       1.36 "Security Agreement" means the documentation under which a lien against
property is reflected.



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        1.37 "Tax Claim" means either (a) an Unsecured Allowed Claim of a governmental
entity as provided by section 507(a)(8) of the Code, or (b) an Allowed Claim of a governmental
entity secured by a lien on property of the Debtor under applicable state law.

       1.38 "Unsecured Claim" means any Claim that is not an Administrative Claim, Priority
Claim, Pre-Petition Tax Claim or Secured Claim.

                                    ARTICLE 2
                                  TREATMENT OF
                          ADMINISTRATIVE EXPENSE CLAIMS
                             AND PRIORITY TAX CLAIMS

       2.1    Administrative Expense Claims.

        Except to the extent that a holder of an Allowed Administrative Expense Claim has been
paid by a Debtor prior to the Effective Date or agrees to less favorable treatment, each holder of
an Allowed Administrative Expense Claim shall receive Cash from the Debtor obligated for the
payment of such Allowed Administrative Expense Claim in an amount equal to the Allowed
amount of such Administrative Expense Claim on the later of the Effective Date and the date
such Administrative Expense Claim becomes an Allowed Administrative Expense Claim, or as
soon thereafter as is practicable; provided, however, that Allowed Administrative Expense
Claims representing liabilities incurred in the ordinary course of business by a Debtor or other
obligations incurred by such Debtor shall be paid in full and performed by such Debtor in the
ordinary course of business in accordance with the terms and subject to the conditions of any
agreements governing, instruments evidencing, or other documents relating to such transactions.

       2.2   Professional Compensation and Reimbursement Claims.

        Other than a professional retained by the Debtor pursuant to the Ordinary Course
Professional Order, any entity seeking an award of the Bankruptcy Court of compensation for
services rendered and/or reimbursement of expenses incurred on behalf of the Debtor and the
Creditors’ Committee through and including the Effective Date under Section 105(a), 363(b),
503(b)(2), 503(b)(3), 503(b)(4) or 503(b)(5) of the Bankruptcy Code shall (a) file its final
application for allowance of such compensation and/or reimbursement by no later than the date
that is 120 days after the Effective Date or such other date as may be fixed by the Bankruptcy
Court, and (b) be paid by or on behalf of the Debtor in full and in Cash in the amounts Allowed
upon (i) the date the order granting such award becomes a Final Order, or as soon thereafter as
practicable, or (ii) such other terms as may be mutually agreed upon by the claimant and the
Debtor obligated for the payment of such Allowed Claim. The Debtor is authorized to pay
compensation for professional services rendered and reimburse expenses incurred on behalf of
the Debtor and the Creditors’ Committee after the Effective Date in the ordinary course and
without Bankruptcy Court approval.




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       2.3     Priority Tax Claims.

               A. Income Tax Claims

This category includes the filed claim of Internal Revenue Service (“IRS”) (4-3) and the filed
claims of Alabama Department of Revenue (“ADOR”) (39-2). The Debtor is working on tax
returns for 2015 and expects that assessment of these returns by the tax authorities will reveal
that the Debtor does not owe any federal or state income taxes. The situation has been further
complicated by an erroneous 1099 form issued by an IRA management company reporting an
alleged 2015 distribution to the Debtor that did not occur, and the Debtor is taking appropriate
steps to get this matter corrected. However, until this issue is resolved and for the purpose of
confirming the Plan, the Debtor has used the dollar amounts stated in the IRS and ADOR claims
to calculate his proposed treatment of these claims, stated below.

        Pursuant to § 1129(a)(9)(C), each holder of an Allowed Priority (Unsecured) federal or
state tax claim will receive on account of such claim sixty equal monthly payments to this Class
that the Debtor estimates as $1,650.00. The Debtor estimates that all claims in this Class will be
paid in full, plus interest at the rate of 4.00% per annum, within a period that will not exceed
sixty (60) months after the Court’s confirmation order becomes final and non-appealable.
Acceptance of this payment by the IRS and/or ADOR will constitute a waiver by said creditor of
any further penalties associated with this claim so long as the Debtor does not default in his
payments.

               B. Ad Valorem Tax Claims

       This category also includes all pre-petition ad valorem tax liens on real properties which
the Plan proposes that the Debtor will transfer ownership from the Debtor’s various LLCs to the
Debtor upon confirmation. A list of the real estate tax claims is set out below.

                                                                           Claim and
          Entity Owing                  Creditor Address
                                                                            Balance
                              Sevier County Trustee
      Blue Mountain                                                      Included in claim
                              125 Court Avenue, Room 212W
      Properties                                                                 No. 15-1
                              Sevierville, TN 37862
                              Fulton County Tax Commissioner
      East Coast                                                            Claim No. 5-1
                              141 Pryor St
      Properties                                                               $18,068.05
                              Atlanta GA, 30303
                              Fulton County Tax Commissioner
                                                                         Included in Claim
      MCA Properties          141 Pryor St.
                                                                                   No. 5-1
                              Atlanta GA, 30303
                              Sevier County Trustee
                                                                           Claim No. 15-1
      MGD RR3                 125 Court Avenue, Room 212W
                                                                               $21,632.00
                              Sevierville, TN 37862




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                       Baldwin County Revenue
                       Commission
    Michael                                                   Claim No. 3-1
                       P O Box 1389
    Dombrowski                                                    $2,940.00
                       1705 U.S. Hwy 31 S.
                       Bay Minette, AL 36507
                       Fulton County Tax Commissioner
    Michael                                                Included in Claim
                       141 Pryor St
    Dombrowski                                                       No. 5-1
                       Atlanta GA, 30303
                       Douglas County Tax Commissioner
    East Coast                                               Claim No.35-1
                       PO Box 1177
    Properties                                                     $403.76
                       Douglasville, GA 30133
                       Investa Services for GSRAN-Z, LLC
                       1266 West Paces Ferry Rd,
    East Coast                                               Claim No.42-1
                       Box 517
    Properties                                                   $1,170.99
                       Atlanta, GA 30327

                       Investa Services for GSRAN-Z, LLC
                       1266 West Paces Ferry Rd,
    East Coast                                               Claim No.43-1
                       Box 517
    Properties                                                     $457.90
                       Atlanta, GA 30327


                       Investa Services for GSRAN-Z, LLC
                       1266 West Paces Ferry Rd,
    East Coast                                               Claim No.44-1
                       Box 517
    Properties                                                   $1,424.89
                       Atlanta, GA 30327


                       Investa Services for GSRAN-Z, LLC
                       1266 West Paces Ferry Rd,
    East Coast                                               Claim No.45-1
                       Box 517
    Properties                                                   $1,356.68
                       Atlanta, GA 30327

                       Investa Services for GSRAN-Z, LLC
                       1266 West Paces Ferry Rd,
    East Coast                                               Claim No.46-1
                       Box 517
    Properties                                                   $4,019.78
                       Atlanta, GA 30327

                       Investa Services for GSRAN-Z, LLC
                       1266 West Paces Ferry Rd,
    East Coast                                               Claim No.47-1
                       Box 517
    Properties                                                   $1,356.68
                       Atlanta, GA 30327

                       Investa Services for GSRAN-Z, LLC
    East Coast         1266 West Paces Ferry Rd,             Claim No.48-1
    Properties         Box 517                                   $4,019.78
                       Atlanta, GA 30327


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      Total                                                                     $56,850.51

       Beginning sixty (60) days after the Court approves the Plan, the Debtor will make a
payment of $500.00 per month to the real estate tax creditors (divided pro rata among the
claimants) until one-hundred percent (100%) of ad valorem claims are paid in full. The
outstanding balances of any tax liens on real properties sold by the Debtor during this period will
be paid at closing. Payment of these tax claims will include all statutory interest pursuant to 11
U.S.C. § 511, but any penalties will be discharged and unenforceable.

        Except to the extent that a holder of an Allowed Priority Tax Claim has been paid prior to
the Effective Date or agrees to less favorable treatment, each holder of an Allowed Priority Tax
Claim shall receive from one or more of the Debtors obligated for the payment of such Allowed
Priority Tax Claim, and at the sole option of such Debtor(s), (i) Cash in an amount equal to the
Allowed amount of such Priority Tax Claim on the later of the Effective Date and the date such
Priority Tax Claim becomes an Allowed Priority Tax Claim, or as soon thereafter as is
practicable, or (ii) equal Cash payments to be made initially on the Effective Date or as soon
thereafter as practicable and monthly thereafter in an aggregate amount equal to such Allowed
Priority Tax Claim, together with interest at a fixed annual rate determined under applicable non-
bankruptcy law, over a period from the Effective Date through the fifth (5th) anniversary after
the Commencement Date; provided, however, that such election shall be without prejudice to the
Debtor’s right to prepay such Allowed Priority Tax Claim in full or in part without penalty.

        Any Allowed Priority Tax Claim in this case, including any priority claim of the United
States (IRS), shall not be discharged upon confirmation, and shall be discharged only upon
payment in full in accordance with the confirmed plan. For tax periods listed in an Allowed
Priority Tax Claim of IRS, the time periods found in 26 U.S.C. § 6503(b) are tolled during the
term of repayment as stated in the plan as confirmed.

       In the event Debtor fails to remit payment on the unsecured priority portion and the
general unsecured claim as each payment becomes due as set forth herein, or fails to file any
post-petition federal tax payment as it becomes due, the automatic stay shall be terminated
without further Order of the Court and the holder of an Allowed Priority Tax Claim shall be free
to proceed with its legal and/or administrative remedies to collect any and all federal tax
indebtedness of the Debtor.

        Confirmation of this Plan will in no way release or absolve any individual responsible
parties from their liability for any Allowed Priority Tax Claim against the Debtor.

                                       ARTICLE 3
                                    DESIGNATION OF
                                 CLAIMS AND INTERESTS

       3.1     The following is a designation of the twenty (20) classes of Claims and Interests
under this Plan. In accordance with Section 1123(a)(1) of the Bankruptcy Code, Claims that are
not impaired have been noted and will not vote on the Plan.


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  Class Numbers                   Class Descriptions                           Voting Rights
                      “Single-Property Note” Mortgages Treated
       1 – 14                                                             Impaired and may vote
                      as Secured Claims
                      “Multiple-Properties Note” Mortgages
       15-20                                                              Impaired and may vote
                      Treated as Secured Claims
                      Home Owner Association Liens Treated as
         21                                                               Impaired and may vote
                      Secured Claims
         22           General Unsecured Claims                            Impaired and may vote
                                                                             Not Impaired and
                      Interests of the Individual Debtor
         23                                                                      Therefore
                      in Property of the Estate
                                                                            Not Entitled to Vote

        A Claim or Interest is classified in a particular class only to the extent that the Claim or
Interest qualifies within the description of that class, and is classified in another class or classes
to the extent that any remainder of the Claim or Interest qualifies within the description of such
other class or classes. A Claim or Interest is classified in a particular class only to the extent that
the Claim or Interest is an Allowed Claim or Allowed Interest in that class and has not been paid,
released or otherwise satisfied before the Effective Date; a Claim or Interest which is not an
Allowed Claim or Interest is not in any Class.

      Notwithstanding anything to the contrary contained in this Plan, no distribution shall be
made on account of any Claim or Interest that is not an Allowed Claim.

       Provided that all Claims will have been paid to the extent provided for in this Plan, the
Debtor will retain his Assets, subject to all remaining perfected encumbrances, as well as any
remainder of the Estate not otherwise liquidated.

                                      ARTICLE 4
                            CLASSIFICATION AND TREATMENT
                               OF CLAIMS AND INTERESTS

                          Classes of “Single-Property Note” Mortgages
                           Treated as Secured Claims: 1 through 14

       1. Classification

        This Class consists of all real property that is subject to a “single-property” mortgage and
that either the Debtor already owns or the Plan proposes that the Debtor will transfer ownership
from the Debtor’s various LLCs to the Debtor upon confirmation.

       2. Claimant Status

       All claims in Classes 1 through 14 are impaired and, accordingly, the holders of Allowed
Claims in such Classes are entitled to vote on the Plan.



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       3. Treatment

        The Plan proposes treatment consistent with Till v. SCS Credit, 540 U.S. 1014, 124 S.
CT. 1951 (2004). Footnote 14 of this decision makes the case that in Chapter 11, if an efficient
market place exists for a loan, that rate should be considered. The majority application of Till, in
the context of Chapter 11, is through use of a two-tier approach: 1) Use the rate established by an
efficient market, or 2) In that case that there is no efficient market, apply the Till formula
approach. In some cases the Plan does not seek to modify the rate because the existing rate is
sufficient for the Debtor to effectively re-organize.

       The plan proposes following the formula approach when a change in interest rate is
warranted:

   a. If the contract interest rate was higher than 4.500% per annum, the Plan proposes an
      interest rate of 4.50% based on the formula discussed in the U.S. Supreme Court decision
      of Till v. SCS Credit, 540 U.S. 1014, 124 S. CT. 1951 (2004) – the Prime Interest Rate
      (currently 4.250%) plus 0.250% for the relatively low risk of default for an over-secured
      claim on real estate with excellent payment history and positive cash flow; or
   b. If the contract interest rate was equal to or lower than 4.500% and the Debtor and the
      creditors do not have an agreement to lower the rate, the Plan proposes maintaining or
      reinstating the contract interest rate; or
   c. If the Debtor and the Creditor have an agreement to lower the rate below 4.500%, the
      Plan proposes the new agreed interest rate.

       For the claims in Classes 1, 2 and 5, the Plan asserts an efficient market exists. The Plan
proposes an interest rate and amortization as follows:

        A fixed interest rate of 3.875% amortized over 40 years because 1) the rate is at or above
an efficient market rate, 2) the rate and term is consistent with modifications offered by FNMA
around the time the Debtor filed for bankruptcy,

        Loans of the Federal National Mortgage Association (“FNMA”) enjoy an efficient
market with widely documented market rates. FNMA publishes these rates at:
https://www.fanniemae.com/content/datagrid/hist_net_yields/cur30.html. As of 6/28/17 the
acceptable fixed rate is 3.45% for loans booked within 30 days. These rates have the further
distinction of being objective. In addition, FNMA pays servicers 0.25% to service its loans. This
results in a minimal acceptable loan rate of 3.45%+0.25% or 3.7% as of 6/28/17. The proposed
rate of 3.875% was also offered by FNMA on a 40-year term when it extended modification
terms to the Debtor at the time of initial filing.


Creditor    Lender or    Property           Current        Proposed Plan         Estimated
 Class      Lienholder  Description         Int. Rate       Treatment            Payment
           Bank of     Rental Home:
   1       America x- 3565                     n/a       See Exhibit “I”            n/a
           0216 Claim Hemlock


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        No. 17-1      Oxnard, CA
                      93035
        Specialized   Rental Home:             Set interest to
        Loan          549 E Port               3.875% and
        Servicing,    Hueneme                  amortize claim over
  2                                    4.00%                          $1093.88
        LLC x-2790    Port                     40 years, based on
        Claim No.     Hueneme, CA              prior proposal of
        18-1          93041                    FNMA.
                      Debtor’s
                      Home:
        Seterus x-
                      200 Walker
  3     8496 Claim                      n/a      See Exhibit “A”        n/a
                      Ave
        No. 22-1
                      Huntsville,
                      AL 35801
                      Rental Home:
        Seterus x-    3422 Los
  4     8248 Claim    Mochis            n/a      See Exhibit “A”        n/a
        No 30-1       Oceanside,
                      CA 92056
                      Rental Home:             Set interest to
        Seterus x-    1701 Strand,             3.875% amortize
  5     2474 Claim    Unit 8           6.25%   claim over 40 years,   $1529.65
        No. 20-1      Tybee Island             based on proposal
                      GA 31328                 from FNMA.
                      Rental Home:
        Seterus x-    2520 Bangor
  6     7397 Claim    CT                n/a      See Exhibit “J”        n/a
        No. 21-1      Snellville, GA
                      30078
                      Rental Home:
        Seterus x-    2564 Navarra
  7     2564 Claim    Dr #115           n/a      See Exhibit “A”        n/a
        No. 33-1      Carlsbad CA
                      92009
                      Rental Home:
        Seterus
                      3621 Ketch
        x-1860
  8                   Oxnard, CA        n/a      See Exhibit “A”        n/a
        Claim No.
                      93035
        29-1
                      1 BR Rental
                      Condo:
        Cornerstone
                      75 Ponce de
        x-1573
  9                   Leon Ave NE       n/a     See Exhibit “K”         n/a
        Claim No.
                      #1006
        13-1
                      Atlanta, GA
                      30303


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                            3 BR Rental
           Cornerstone      Condo:
           x-6938           1415 Butler
   10                                          n/a       See Exhibit “K”            n/a
           Claim No.        Ave Unit 19
           12-1             Tybee Island
                            GA 31328
                            3 BR Rental
           Cornerstone      Condo:
           x-5684           1415 Butler
   11                                          n/a       See Exhibit “K”            n/a
           Claim No.        Ave Unit 16
           11-1             Tybee Island
                            GA 31328
                            3 BR Vacant
                            Home
           Progress         503/505
   12                                          n/a        See Exhibit “B”          n/a
           x-2300           O’Shaughness
                            y Huntsville,
                            AL, 35801
                            4 BR Vacant
                            Home
           Progress         1200
   13                                          n/a        See Exhibit “B”          n/a
           x-6800           Highlands
                            Huntsville,
                            AL, 35801
                            4 BR Vacant
                            Home
           Progress
   14                       405 Eustis         n/a        See Exhibit “B”          n/a
           x-6700
                            Huntsville,
                            AL 35801


                      Classes of “Multiple-Properties Note” Mortgages
                         Treated as Secured Claims: 15 through 20

        1. Classification

       This Class consists of all real property that is subject to a “multiple-properties” mortgage
and that either the Debtor already owns or the Plan proposes that the Debtor will transfer
ownership from the Debtor’s various LLCs to the Debtor upon confirmation.

        2. Claimant Status

      All claims in Classes 15 through 20 are impaired and, accordingly, the holders of
Allowed Claims in such Classes are entitled to vote on the Plan.




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          3. Treatment

        The Debtor has negotiated settlements with Progress Bank, United Community Bank,
Sevier County Bank, First Tennessee Bank, and First Commercial Bank, and copies of the
parties’ joint motions for compromise are attached hereto as Exhibits “B”, “C”, “D”, “E” and “F”
respectively.

        For the other secured claim listed below (Piedmont Capital Lending), the Plan proposes
monthly payments of the allowed claim based on a thirty (30) year amortization, with a balloon
payment of the entire remaining debt in ten (10) years (on the 120th regular monthly payment).
This balloon period is chosen to facilitate Debtor repairing his credit prior to refinancing efforts.
In accordance with the Debtor’s motion (Doc. 362) and the Bankruptcy Court’s resulting Order
(Doc. 411), interest will begin to accrue on the secured claim of Piedmont Capital Lending as of
the Effective Date of this Plan.

                 1. Interest Rate.

       The proposed Plan interest rate for each allowed secured claim listed below has been
determined as follows:

1.        If the contract interest rate was higher than 4.500% per annum, the Plan proposes an
          interest rate of 4.50% based on the formula discussed in the U.S. Supreme Court decision
          of Till v. SCS Credit, 540 U.S. 1014, 124 S. CT. 1951 (2004) – the Prime Interest Rate
          (currently 4.250%) plus 0.250% for the relatively low risk of default for an over-secured
          claim on real estate; or

2.        If the contract interest rate was equal to, or lower than 4.500%, and the Debtor and the
          creditors do not have an agreement to lower the rate, the Plan proposes maintaining or
          reinstating the contract interest rate.

        As to every secured claim in this category the balance of said claim as of confirmation of
this Plan shall be calculated using the proposed interest rate set out below for the period from the
petition Filing Date to the date of confirmation.


Creditor       Lender or       Property          Current        Proposed Plan          Estimated
 Class        Lienholder     Description         Int. Rate        Treatment            Payment
             United
             Community
     15      Bank          See Exhibit “C”           n/a              n/a                  n/a
             x-1827
             Claim No. 2-1
             Progress Bank
             and Trust
     16                    See Exhibit “B”           n/a              n/a                  n/a
             x-2700




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                                                            Set interest to 4.5%
          Piedmont          9 Vacant Lots
                                                            and payment
          Capital           and 2 Rental
   17                                               n/a     amortization to 30      $1043.77
          Lending           Homes in North
                                                            years. Balloon
          Claim No. 8-1     Georgia
                                                            payment in 10 years.
          Sevier County
          Bank
   18                       See Exhibit “D”         n/a               n/a                 n/a
          x-7420

          Sevier County
          Bank
   18                       See Exhibit “D”         n/a               n/a                 n/a
          x-7457

          First
          Tennessee
   19     Bank              See Exhibit “E”         n/a               n/a                 n/a
          Claim No.
          16-1
          Synovus
          (First Comm.
   20     Bank)             See Exhibit “F”         n/a               n/a                 n/a
          x-8396
          Claim No. 10-1

               2. Liquidation of Collateral.

        In addition to making monthly payments to allowed claims in class, the Plan
contemplates timed liquidation by the Debtor of selective collateral real properties in order to
both accelerate payment of claims and to fund plan expenses. In order to facilitate the sale or
refinance of collateral the following maximum release prices are proposed for each piece of
collateral. The release price of collateral will be the lesser of the remaining claim or the release
price listed for that collateral. Debtor may also choose to use cash on hand to payoff and release
selected collateral. Each time collateral is released, the monthly payment will be reduced
proportional to the reduction in principal balance.

        Once an allowed claim is paid in full, the Debtor will keep any remaining, unsold
properties, and the Creditor will release said remaining properties. The Creditor shall cooperate
fully with the sale or refinancing of its collateral, including providing the appropriate mortgage
release for the closing.

                       A. Class 15 - United Community Bank Release Agreement.

        See Exhibit “C”.




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                      B. Class 16 – Progress Bank Release Agreement

       See Exhibit “B”.

                      C. Class 17 – Piedmont Capital Lending Release Agreement.

        The following release schedule applies to the 11 properties collateralizing Claim No. 8-1
by Piedmont Capital Lending, as reduced by Order of the Bankruptcy Court (Doc. 411) from
$233,368.33 to $200,000.00. This claim may be identified as Piedmont elsewhere in Debtor
Bankruptcy Proceedings. Collateral for Class 17 produces net income under terms of this Plan.
Debtor proposes the standard 10-year balloon, but reserves the right to liquidate properties using
the release prices.


                              Market       Estimated      Estimated                   Estimated
  Property Description                                      LTV
                                                                      Release Price
                                                                                      Payment
                              Value         Balance
 Lot 63 Lakeland Estates
  Phase II Ellijay, GA        $22,000       $6,940.28        32%        $8,000.00       $35.17
   Parcel 3009B-002
 Lot 32 Lakeland Estates
  Phase II Ellijay, GA        $18,000       $5,678.41        32%        $7,000.00       $28.77
   Parcel 3009B-021
 Lot 33 Lakeland Estates
  Phase II Ellijay, GA        $18,000       $5,678.41        32%        $7,000.00       $28.77
   Parcel 3009B-022
 Lot 3 Lakeland Estates
  Phase II Ellijay, GA        $35,000      $10,041.35        32%       $13,000.00       $55.94
   Parcel 3009B-051
 Lot 54 Lakeland Estates
  Phase II Ellijay, GA        $15,000       $4,732.01        32%        $6,000.00       $23.98
   Parcel 3009B-054
 Lot 57 Lakeland Estates
  Phase II Ellijay, GA        $30,000       $9,464.01        32%       $11,000.00       $47.95
   Parcel 3009B-057
 Lot 49 Lakeland Estates
  Phase II Ellijay, GA        $35,000      $10,041.35        32%       $13,000.00       $55.94
   Parcel 3009B-059
 Lot 50 Lakeland Estates
  Phase II Ellijay, GA        $30,000       $8,464.01        32%       $11,000.00       $47.95
   Parcel 3009B-060
 Lot 52 Lakeland Estates
  Phase II Ellijay, GA        $20,000       $5,309.34        32%        $8,000.00       $31.97
   Parcel 3009B-062
   4 BR Rental Home
 1013 Constitution Way       $200,000      $62,093.42        32%       $65,000.00      $319.69
  Cumming, GA 30040


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    6 BR Rental Home
   130 Whipporwill Dr         $230,000      $71,557.43        32%        $74,000.00      $367.64
       Oxford, GA
          Total               $653,000     $200,000            $0         $223,000      $1,043.77


                       E. Class 18 – Sevier County Bank Release Agreement

       See Exhibit “D”.

                       Class 19 – First Tennessee Bank Release Agreement.

       See Exhibit “E”.

                       F. Class 20 – First Commercial Bank Release Agreement.

       See Exhibit “F”.

           Class of Home Owner Association Liens Treated as Secured Claims: 21

       1. Classification

        This Class consists of all pre-petition Home Owner Association liens on real property
that either the Debtor already owns or the Plan proposes that the Debtor will receive ownership
from the Debtor’s various LLCs upon confirmation. A list of the Home Owner Association
claims is attached as Exhibit “G”.

       2. Claimant Status

        All claims in Class 21 are impaired and, accordingly, the holders of Allowed Claims in
this Class are entitled to vote on the Plan.

       3. Treatment

        Beginning sixty (60) days after the Court approves the Plan, the Debtor will make a
payment of $500.00 per month to the creditors in this Class (divided among the claimants in this
Class) until one-hundred percent (100%) of each allowed claim in this Class, including interest,
is paid in full.

        In the case that the HOA is entitled to interest, the balance of each claim in this Class as
of confirmation of this Plan shall be calculated using a proposed interest rate which is the lesser
of the statutory rate or 4.50% per annum for the period from the petition Filing Date to the date
of confirmation. Said interest rate shall accrue on such claims from the date of confirmation until
they are paid by the Debtor.




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                                          Class of General Unsecured Claims: 22

           1. Classification:

        This Class consists of all non-priority, unsecured claims not addressed in the previous
classes described above. Class 22 claims listed in the Debtor’s filed schedules include credit card
debts to Regions Bank (Claim No 7-1), American Express (Claim No’s 6-1 and 14-1) and USAA
Federal Savings Bank (Claim No 19-1).

           2. Treatment:

        All claims in Class 22 are impaired and, accordingly, the holders of Allowed Claims in
this Class are entitled to vote on the Plan.

        Beginning sixty (60) days after the Court approves the Plan, the Debtor will make a
payment of $500.00 per month to the creditors in this Class (divided among the claimants in this
Class) until one-hundred percent (100%) of each allowed claim in this Class, including interest,
is paid in full.

       The claims in this Class shall not accrue any interest for the period from the petition
Filing Date to the date of confirmation, but simple interest at the Federal Judgment Rate (“FJR”)
on the date of confirmation of the Plan shall accrue on such claims per annum until they are paid
by the Debtor. 1

                                       Class of Interests of the Individual Debtor
                                              in Property of the Estate: 23

           1.         Classification:

       Class 5 consists of the Debtor’s interests in property of the Estate, shown in detail in the
Debtor’s Schedule A/B as of the petition date, and summarized herein as follows:

                Schedules                Property                             Value                               Sub-Total

                 Part 1:             Real estate                           $5,164,000.00                      $5,164,000.00

                 Part 2:             2004 Ford                                   $4,900.00                          $4.900.00
                                     F-350

                 Part 3:             Household goods,                            $2,250.00
                                     clothes, jewelry

                                     Trailer and tools                         $15,275.00                          $17,525.00

1
   For bankruptcy decisions approving use of the FJR as the interest rate for unsecured creditors, see, e.g., Opinion,In re Washington Mutual, Inc.
et al., Case No. 08-12229 (MFW) (Bankr. D. Del. Sep. 13, 2011); Onink v. Cardelucci (In re Cardelucci), 285 F.3d 1231 (9th Cir. 2002); In re
Garriock, 373 B.R. 814 (E.D. Va. 2007); In re Adelphia Communications Corp., 368 B.R. 140 (Bankr. S.D.N.Y. 2007); In re Dow Corning
Corp., 237 B.R. 380 (Bankr. E.D. Mich. 1999).



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             Part 4:      Progress checking              $100.00
                          LLCs holding real
                          estate                    $4,816,312.69

                          401(k)                     $140,000.00

                          Utilities Deposits          $19,000.00         $4,980,312.69

             Part 5:      Rents due                    $5,000.00             $5,000.00

                                                        TOTAL:          $10,171,737.69

         The real estate summarized in Part 1 above includes the Debtor’s home, which he owns
with his non-filing spouse. The other real estate summarized in Part 1 and Part 4 is comprised of
a combination of rental properties and properties held for value appreciation. A list of the
specific properties is attached hereto as Exhibit “H”

        The various real properties listed in Part 1 and Part 4 above are subject to the mortgage
liens of various lenders, local ad valorem taxes and a few home owner association dues, totaling
$8,198,743.00. The Debtor also scheduled unsecured claims in the total amount of $90,204.93.

        In summary, the Debtor’s schedules reflect almost two million ($2,000,000.00) dollars in
equity, assuming sales in the ordinary course of business and not emergency fire sales. The
Debtor’s Plan proposes to pay all allowed Claims, including unsecured debt, in full over the life
of the Plan.

                2.      Treatment:

       Class 5 is not impaired and, accordingly, Class 5 is not entitled to vote on the Plan. The
Debtor elects to retain his interests in said property except as explained in the next section
concerning dissolution of his limited liability companies and in the sections on treatment of the
claims of First Commercial Bank and First Tennessee Bank (liquidation by agreement).


                                      ARTICLE 5
                          AUTHORIZATION TO TRANSFER ASSETS
                       OF DEBTOR’S LIMITED LIABILITY COMPANIES

       5.1      Transfer of LLC Assets and Termination of LLCs.

       At any time after the Bankruptcy Court enters an order confirming this Plan, the Debtor is
authorized to take the following actions:

   a. The Debtor may cause each of his sole-member limited liability companies (each being
      referred to individually in this section as " the LLC"), to call meetings, adopt resolutions



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        and take such further steps as may be necessary to accomplish the further actions
        described below and to transact such other business as may be necessary to accomplish
        the said actions; and

   b.    The Debtor may cause the LLC to convey to the Debtor by quitclaim deed all of its right,
        title and interest in the real property subject to the mortgage lien and underlying debt of a
        secured creditor in this Chapter 11 case; and

   c.    The Debtor may cause the LLC to convey or assign to the Debtor all cash, receivables
        lists, forms, chattel property and any other physical assets associated with the conveyed
        real property by appropriate instruments acceptable to the Debtor; and

   d.    The Debtor may cause the LLC to convey or assign to the Debtor all contracts, leases,
        licenses and any other intangible assets associated with the conveyed real property by
        appropriate instruments acceptable to the Debtor; and

   e.    The Debtor may cause the LLC to file articles of termination or dissolution, or such
        other and further paperwork as the Debtor deems appropriate and necessary in
        accordance with the laws of the state in which the LLC was organized.

        5.2    Conveyances Subject to Existing Liens.

        The LLC's conveyance of title to the Debtor shall be subject to any mortgage lien and/or
statutory lien against the real property that existed at the Petition Date, except to the extent that
such lien and/or the underlying debt is modified by this Plan or any order entered by the
Bankruptcy Court in this case.

        5.3    Treatment of Incidences of Default or Breaches of Loan Contract.

        Confirmation of this Plan shall void and render unenforceable any provision in the
mortgage, the promissory note or the associated loan documents that identifies the LLC's
conveyance of title to the Debtor or other action stated above as an incident of default or a breach
of the loan agreement.

        Any unresolved incident of default under the mortgage, promissory note or loan
documents of any secured claim in this case that is not clearly stated in a filed proof of claim at
least fourteen (14) days prior to the first hearing on the Debtor's Plan shall be deemed waived by
the secured creditor and consequently unenforceable against the Debtor. However, such waiver
shall not apply to any incident of default that may arise after confirmation of the Debtor's Plan,
so long as said incident does not violate any terms of the confirmed Plan.

        5.4    Consequences of Conveyance of LLC Properties.

       The LLC's conveyance of title of one or more real properties to the Debtor as authorized
herein shall be complementary to and shall not modify or nullify the other provisions of this
Plan. The conveyed real property titled in the Debtor's name shall be property of the Debtor's



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Chapter 11 Estate under 11 U.S.C. § 541 for the purposes of § 1141 and any other sections of the
Bankruptcy Code that may be applicable to the implementation of this Plan.

       5.5     Option to Seek Tax Ruling.

        The Debtor, in his sole discretion, may seek a written ruling from the Commissioner of
Internal Revenue to the effect that this Plan will be a "reorganization" as that term is defined in
the Internal Revenue Code, and that no gain or loss will be recognized either to the Debtor or his
LLCs by the consummation of the actions herein described.

                                  ARTICLE 6
                     COMPLETE RELEASE OF LIABILITY FOR
                   DEBTOR’S SPOUSE EXCEPT WHERE RESERVED

        Upon confirmation of this Plan, the Debtor’s spouse, Charlotte Dombrowski, and her
heirs, successors and personal representatives, shall be totally and permanently released from any
and all manner of claims, actions, causes of action, debts, accounts, guaranties, loans, contracts,
notes and demands from any and all of the Debtor’s creditors and from any successors or
assignees of said creditors, except as to any creditor for which the terms of the Plan expressly
reserve and continue Charlotte Dombrowski’s liability.

        This complete and total release of liability for Charlotte Dombrowski shall include any
late charges, attorney’s fees and expenses, or other legal demands that might arise under any loan
documents or by statute in connection with the claims of the debtor’s creditors.

       This complete and total release of liability for Charlotte Dombrowski shall include any
claims for unjust enrichment, constructive trust, or other equitable demands that might arise
under case law or by statute in connection with the claims of the Debtor’s creditors.

       This complete and total release of liability for Charlotte Dombrowski also shall include
any claims for contribution or indemnity that might arise under any loan documents or by statute
in connection with the claims of the Debtor’s creditors.

      The only exception to this complete and total release of liability for Charlotte
Dombrowski is the homestead of the Debtor and Mrs. Dombrowski, for which Charlotte
Dombrowski shall remain liable according to the terms of the purchase-money Fannie Mae note
and mortgage, as such terms may be modified by the Debtor’s confirmed Plan.

        The Debtor intends that this release of Charlotte Dombrowski shall be complete and total
in the same manner as the release of liability discussed in the reported decision of Iberiabank v.
Geisen (In re FFS Data, Inc.), 776 F.3d 1299 (11th Cir. 2015). All terms of this release shall be
construed so as to be complete and total for Mrs. Dombrowski, as said terms were discussed and
applied in this U.S. Court of Appeals decision.




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                                 ARTICLE 7
                      ACCEPTANCE OR REJECTION OF THE PLAN

       7.1      The holders of Claims in all impaired Classes listed above shall be entitled to vote
to accept or reject the Plan.

                                 ARTICLE 8
                  MEANS FOR EXECUTION AND IMPLEMENTATION
                                OF THE PLAN

      8.1     Funding of the Distribution. On the Effective Date, the Debtor shall first fund
payments to the holders of Allowed Administrative Claims.

       8.2    Authorization to Take Necessary and Appropriate Actions to Effectuate Plan. On
the Effective Date, the Debtor shall be authorized and directed to take all necessary and
appropriate actions to effectuate the transactions contemplated by the Plan and Disclosure
Statement.

        8.3     Preservation of Rights of Action. Except as otherwise provided in the Plan, or in
any contract, instrument, release, or other agreement entered into in connection with the Plan in
accordance with Section 1123(b) of the Bankruptcy Code, the Debtor shall retain and may
enforce any claims, rights and causes of action that the Debtor or the Estates may hold against
any entity, including, without limitation, any claims, rights or causes of action arising under
Sections 544 through 551 or other sections of the Bankruptcy Code or any similar provisions of
state law, or any other statute or legal theory. The Debtor or any successor to or designee thereof
may pursue those rights of action, as appropriate, in accordance with what is in the best interests
of the Debtor.

        8.4     Except as otherwise provided for with respect to applications of professionals for
compensation and reimbursement of expenses under Article 3 of the Plan, or as otherwise
ordered by the Bankruptcy Court after notice and a hearing, objections by any party other than
the Debtor to filed Claims shall be Filed and served upon the holder of such Claim or
Administrative Claim not later than the Effective Date, unless this period is extended by the
Court. Such extension may occur ex parte. After the Effective Date, only the Debtor shall have
the exclusive right to object to Claims.

                                  ARTICLE 9
                  FUNDING AND METHODS OF DISTRIBUTION AND
                PROVISIONS FOR TREATMENT OF DISPUTED CLAIMS

        9.1    Funding of Distributions under the Plan. The Debtor’s normal cash flow shall be
the sole source of funds for the payments to creditors authorized by the U.S. Bankruptcy Court’s
confirmation of this Plan, except for those claims to be addressed by liquidation of collateral
(explained in detail above).




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       9.2     Cash Distributions. All Cash distributions made pursuant to the Plan shall be
made by the Debtor from the Chapter 11 estate. Any such payments may be made either by
check or wire transfer, at the option of the payor.

        9.3     Distribution Procedures. Except as otherwise provided in the Plan, all
distributions of Cash and other property shall be made by the Debtor on the later of the Effective
Date or the date on which such Claim is Allowed, or as soon thereafter as practicable.
Distributions required to be made on a particular date shall be deemed to have been made on
such date if actually made on such date or as soon thereafter as practicable. No payments or other
distributions of property shall be made on account of any Claim or portion thereof unless and
until such Claim or portion thereof is allowed.

        9.4     Distributions to Holders of Allowed Administrative Expense Claims.
Commencing on the Effective Date, the Debtor shall, in accordance with Article 3 of the Plan,
distribute to each holder of a then unpaid Allowed Administrative Expense Claim in the Allowed
amount of such holder's Claim if and to the extent that the balance, if any, of such Claims is
Allowed by Final Order. The Debtor shall not tender a payment to the holders of Allowed
Administrative Expense Claims until all Disputed Claims that are alleged to be Administrative
Claims have been allowed or disallowed.

        9.5     Disputed Claims. Notwithstanding any other provisions of the Plan, no payments
or distributions shall be made on account of any Disputed Claim until such Claim becomes an
Allowed Claim, and then only to the extent that it becomes an Allowed Claim.

       9.6     Delivery of Distributions and Undeliverable or Unclaimed Distributions.

               (a)     Delivery of Distributions in General. Distributions to holders of Allowed
Claims shall be distributed by mail as follows: (1) at the addresses set forth on the respective
proofs of claim filed by such holders; (2) at the addresses set forth in any written notices of
address changes delivered to the Debtor after the date of any related proof of claim; or (3) at the
address reflected on the Schedule of Assets and Liabilities filed by the Debtor if no proof of
claim or proof of interest is Filed and the Debtor have not received a written notice of a change
of address.

               (b)    Undeliverable Distributions.

                      (i) Holding and Investment of Undeliverable Property. If the distribution
       to the holder of any Claim is returned to the Debtor as undeliverable, no further
       distribution shall be made to such holder unless and until the Debtor is notified in writing
       of such holder's then current address. Unclaimed Cash shall be held in trust in a
       segregated bank account in the name of the Debtor, for the benefit of the potential
       claimants of such funds, and shall be accounted for separately.

                       (ii) Distribution of Undeliverable Property After it Becomes Deliverable
       and Failure to Claim Undeliverable Property. Any holder of an Allowed Claim who does
       not assert a claim for an undeliverable distribution held by the Debtor within two years



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       after the Effective Date shall no longer have any claim to or interest in such undeliverable
       distribution, and shall be forever barred from receiving any distributions under this Plan.
       In such cases, any cash or securities held for distribution on account of such Claims shall
       become property of the Debtor.

        9.7     Failure to Negotiate Checks. Checks issued in respect of distributions to holders
of Allowed Claims under the Plan shall be null and void if not negotiated within sixty (60) days
after the date of issuance. The Debtor shall hold any amounts returned to the Debtor in respect of
such checks. Requests for reissuance of any such check may be made directly to the Debtor by
the holder of the Allowed Claim with respect to which such check originally was issued. Any
claim in respect of such voided check is required to be made within six months of the original
issuance date of the check. Thereafter, all amounts represented by any voided check shall
become unrestricted funds of the Debtor. All Claims in respect of void checks and the underlying
distributions shall be discharged and forever barred from an assertion against the Debtor and its
property.

       9.8     Compliance with Tax Requirements. In connection with the Plan, to the extent
applicable, the Debtor shall comply with all withholding and reporting requirements imposed on
them by any governmental unit, and all distributions pursuant to the Plan shall be subject to such
withholding and reporting requirements.

       9.9     Setoffs. Unless otherwise provided in a Final Order or in this Plan, the Debtor
may, but shall not be required to, set off against any Claim and the payments to be made
pursuant to the Plan in respect of such Claim, any claims of any nature whatsoever the Debtor
may have against the holder thereof or its predecessor, but neither the failure to do so nor the
allowance of any Claim hereunder shall constitute a waiver or release by the Debtor of any such
Claims the Debtor may have against such holder or its predecessor.

                                 ARTICLE 10
                      TREATMENT OF EXECUTORY CONTRACTS
                            AND UNEXPIRED LEASES

        10.1 Rejection of All Executory Contracts and Leases Not Assumed. The Plan
constitutes and incorporates a motion by the Debtor to reject, as of the Effective Date, all pre-
petition executory contracts and unexpired leases to which the Debtor are parties, except for any
executory contract or unexpired lease that (i) has been assumed or rejected pursuant to a Final
Order, or (ii) is the subject of a pending motion for authority to assume the contract or lease
Filed by the Debtor prior to the Confirmation Date. The Plan establishes a bar date for filing
Rejection Claims not already barred.

        10.2 Bar Date for Filing of Rejection Claims. Any Claim for damages arising from the
rejection under this Plan of an executory contract or unexpired lease that was not subject to an
earlier bar date must be Filed within thirty (30) days after the mailing of notice of Confirmation
or be forever barred and unenforceable against the Debtor, the Estates, any of their affiliates and
their properties and barred from receiving any distribution under this Plan.




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                                      ARTICLE 11
                            EFFECTS OF PLAN CONFIRMATION

        11.1 No Liability for Solicitation or Participation. As specified in section 1125(e) of
the Bankruptcy Code, Persons that solicit acceptances or rejections of the Plan and/or that
participate in the offer, issuance, sale, or purchase of securities offered or sold under the Plan, in
good faith and in compliance with the applicable provisions of the Bankruptcy Code, are not
liable, on account of such solicitation or participation, for violation of any applicable law, rule,
or regulation governing the solicitation of acceptances or rejections of the Plan or the offer,
issuance, sale, or purchase of securities.

         11.2 Limitation of Liability. Neither the Debtor and any professional Persons retained
by them; any of their affiliates nor any of their officers, directors, partners, associates,
employees, members or agents (collectively the "Exculpated Persons"), shall have or incur any
liability to any Person for any act taken or omission made in good faith in connection with or
related to the Bankruptcy Case or actions taken therein, including negotiating, formulating,
implementing, confirming or consummating the Plan, the Disclosure Statement, or any contract,
instrument, or other agreement or document created in connection with the Plan. The Exculpated
Persons shall have no liability to any Creditors or Equity Security Holders for actions taken
under the Plan, in connection therewith or with respect thereto in good faith, including, without
limitation, failure to obtain Confirmation of the Plan or to satisfy any condition or conditions, or
refusal to waive any condition or conditions, precedent to Confirmation or to the occurrence of
the Effective Date. Further, the Exculpated Persons will not have or incur any liability to any
holder of a Claim, holder of an Interest, or party-in-interest herein or any other Person for any act
or omission in connection with or arising out of their administration of the Plan or the property to
be distributed under the Plan, except for gross negligence or willful misconduct as finally
determined by the Bankruptcy Court, and in all respects such persons will be entitled to rely
upon the advice of counsel with respect to their duties and responsibilities under the Plan.

         11.3 Other Documents and Actions. The Debtor as Debtor-In-Possession may execute
such documents and take such other action as is necessary to effectuate the transactions provided
for in the Plan.

        11.4 Term of Injunctions or Stays. Unless otherwise provided, all injunctions or stays
provided for in the Reorganization Case pursuant to sections 105 or 362 of the Bankruptcy Code
or otherwise and in effect on the Confirmation Date shall remain in full force and effect until the
Effective Date.

                                  ARTICLE 12
                     CONFIRMABILITY OF PLAN AND CRAMDOWN

        The Debtor requests Confirmation under Section 1129(b) of the Bankruptcy Code if any
impaired class does not accept the Plan pursuant to Section 1126 of the Bankruptcy Code. In that
event, the Debtor reserves the right to modify the Plan to the extent, if any, that Confirmation of
the Plan under Section 1129(b) of the Bankruptcy Code requires modification.




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                                      ARTICLE 13
                               RETENTION OF JURISDICTION

        Notwithstanding the entry of the Confirmation Order or the occurrence of the Effective
Date, the Bankruptcy Court shall retain such jurisdiction over the Reorganization Case after the
Effective Date as is legally permissible, including, without limitation, jurisdiction to:

        13.1     Allow, disallow, determine, liquidate, classify or establish the priority or secured
or unsecured    status of or estimate any Claim or Interest, including, without limitation, the
resolution of    any request for payment of any Administrative Claim or Indenture Trustee
expenses and    the resolution of any and all objections to the allowance or priority of Claims or
Interests;

       13.2 Grant or deny any and all applications for allowance of compensation or
reimbursement of expenses authorized pursuant to the Bankruptcy Code or the Plan, for periods
ending on or before the Effective Date;

       13.3 Resolve any motions pending on the Effective Date to assume, assign or reject
any executory contract or unexpired lease to which the Debtor are a party or with respect to
which the Debtor may be liable and to hear, determine and, if necessary, liquidate, any and all
Claims arising there from;

      13.4 Ensure that distributions to holders of Allowed Claims and Allowed Interests are
accomplished pursuant to the provisions of the Plan;

       13.5 Decide or resolve any and all applications, motions, adversary proceedings,
contested or litigated matters and any other matters or grant or deny any applications involving
the Debtor that may be pending on the Effective Date;

      13.6 Enter such Orders as may be necessary or appropriate to implement or
consummate the provisions of the Plan and all contracts, instruments, releases, and other
agreements or documents created in connection with the Plan or the Disclosure Statement;

       13.7 Resolve any and all controversies, suits or issues that may arise in connection
with the consummation, interpretation or enforcement of the Plan or any entity's obligations
incurred in connection with the Plan, including the provisions of Article 9 hereof;

       13.8 Modify the Plan before or after the Effective Date pursuant to Section 1127 of the
Bankruptcy Code, or to modify the Disclosure Statement or any contract, instrument, release, or
other agreement or document created in connection with the Plan or the Disclosure Statement; or
remedy any defect or omission or reconcile any inconsistency in any Bankruptcy Court Order,
the Plan, the Disclosure Statement or any contract, instrument, release, or other agreement or
document created in connection with the Plan or the Disclosure Statement, in such manner as
may be necessary or appropriate to consummate the Plan, to the extent authorized by the
Bankruptcy Code;




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       13.9 Issue injunctions, enter and implement other orders or take such other actions as
may be necessary or appropriate to restrain interference by any entity with consummation or
enforcement of the Plan;

       13.10 Enter and implement such orders as are necessary or appropriate if the
Confirmation Order is for any reason modified, stayed, reversed, revoked or vacated;

        13.11 Determine any other matters that may arise in connection with or relate to the
Plan, the Disclosure Statement, the Confirmation Order or any contract, instrument, release, or
other agreement or document created in connection with the Plan or the Disclosure Statement;
and

       13.12 Enter an order concluding the Reorganization Case.

        If the Bankruptcy Court abstains from exercising jurisdiction or is otherwise without
jurisdiction over any matter arising out of the Reorganization Case, including, without limitation,
the matters set forth in this Article, this Article shall have no effect upon and shall not control,
prohibit, or limit the exercise of jurisdiction by any other court having competent jurisdiction
with respect to such matter.

                                     ARTICLE 14
                              MISCELLANEOUS PROVISIONS

        14.1 Fractional Dollars. Any other provision of the Plan notwithstanding, no payments
of fractions of dollars will be made to any holder of an Allowed Claim. Whenever any payment
of a fraction of a dollar to any holder of an Allowed Claim would otherwise be called for, the
actual payment made will reflect a rounding of such fraction to the nearest whole dollar (up or
down).

        14.2 Modification of Plan. The Debtor reserves the right, in accordance with the
Bankruptcy Code, to amend or modify the Plan prior to the entry of the Confirmation Order.
After the entry of the Confirmation Order, the Debtor may, upon order of the Bankruptcy Court,
amend or modify the Plan in accordance with Section 1127(b) of the Bankruptcy Code, or
remedy any defect or omission or reconcile any inconsistency in the Plan in such manner as may
be necessary to carry out the purpose and intent of the Plan.

       14.3 Withdrawal of Plan. The Debtor reserves the right, at any time prior to entry of
the Confirmation Order, to revoke or withdraw the Plan. If the Debtor revokes or withdraws the
Plan under this Section 12.3 or if the Effective Date does not occur, then the Plan shall be
deemed null and void. In that event, nothing contained in the Plan shall be deemed to constitute
a waiver or release of any Claims by or against the Debtor or any other person, or to prejudice in
any manner the rights of the Debtor or any other person in any further proceedings involving the
Debtor.

       14.4 Governing Law. Except to the extent the Bankruptcy Code or the Bankruptcy
Rules are applicable, the rights and obligations arising under the Plan shall be governed by, and



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construed and enforced in accordance with the laws of the State of Alabama, without giving
effect to the principles of conflicts of law thereof.

        14.5 Time. In computing any period of time prescribed or allowed by this Plan, the day
of the act, event, or default from which the designated period of time begins to run shall not be
included. The last day of the period so computed shall be included, unless it is not a Business
Day or, when the act to be done is the filing of a paper in court, a day on which weather or other
conditions have made the clerk's office inaccessible, in which event the period runs until the end
of the next day which is not one of the aforementioned days. When the period of time prescribed
or allowed is less than eight days, intermediate days that are not Business Days shall be excluded
in the computation.

        14.6 Payment Dates. Whenever any payment to be made under the Plan is due on a day
other than a Business Day, such payment will instead be made, without interest, on the next
Business Day.

       14.7 Headings. The headings used in this Plan are inserted for convenience only and do
not constitute a portion of the Plan or in any manner affect the provisions of the Plan.

        14.8 Successors and Assigns. The rights, benefits and obligations of any entity named
or referred to in the Plan shall be binding on, and shall inure to the benefit of, any heir, executor,
administrator, successor or assign of such entity.

        14.9 Severability of Plan Provisions. If prior to Confirmation any term or provision of
the Plan, which does not govern the treatment of Claims or Interests or the conditions of the
Effective Date, is held by the Bankruptcy Court to be invalid, void, or unenforceable, the
Bankruptcy Court shall have the power to alter and interpret such term or provision to make it
valid or enforceable to the maximum extent practicable, consistent with the original purpose of
the term or provision held to be invalid, void, or unenforceable, and such term or provision shall
then be applicable as altered or interpreted. Notwithstanding any such holding, alteration or
interpretation, the remainder of the terms and provisions of the Plan will remain in full force and
effect and will in no way be affected, impaired, or invalidated by such holding, alteration, or
interpretation. The Confirmation Order shall constitute a judicial determination and shall provide
that each term and provision of the Plan, as it may have been altered or interpreted in accordance
with the foregoing, is valid and enforceable pursuant to its terms.

        14.10 No Admissions. Notwithstanding anything herein to the contrary, nothing
contained in the Plan shall be deemed as an admission by the Debtor with respect to any matter
set forth herein, including, without limitation, liability on any Claim or the propriety of any
Claims classification.

        14.11 Notices. Notices to be provided under this Plan shall be transmitted to the Debtor
as follows:




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      Michael G. Dombrowski
      200 Walker Avenue
      Huntsville, AL 35801

      With a copy to:
      Tazewell T. Shepard, Esq.
      SPARKMAN, SHEPARD & MORRIS, PC
      P.O. Box 19045
      Huntsville, AL 35804

      This 30th day of August, 2017.


                                       /s/ Michael G. Dombrowski
                                       Michael G. Dombrowski, Chapter 11 Debtor

Of Counsel:

SPARKMAN, SHEPARD & MORRIS, P.C.
P. O. Box 19045
Huntsville, AL 35804
Tel: (256) 512-9924
Fax: (256) 512-9837




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                                CERTIFICATE OF SERVICE

       This is to certify that on the 23rd day of August, 2017, I served a “red-lined” version of
the foregoing Final Amended and Restated Plan of Reorganization, showing all changes made
thereto since the last Plan filing, by email on those parties who provided an email address when
they appeared and/or requested notice with the clerk of this Court and by U.S. Mail on those
parties not having an email address of record with the clerk of this Court, as shown fully below.


       Numerous attorneys of record responded that they did not have any objection to the final
version of the Plan. The only request came from Internal Revenue Service and Alabama
Department of Revenue, who asked that the post-confirmation rate of interest on their claims be
corrected from 3% to 4% in accordance with the U.S. Bankruptcy Code, and that change is
reflected in the “clean version” of the Plan. A week having passed without my receiving any
other objections or questions concerning the Final Amended and Restated Plan of
Reorganization, I have filed a “clean copy” of said Plan on this 30th day of August, 2017.



                                                 /s/ Tazewell T. Shepard
                                                 Tazewell T. Shepard III

Contacted by email:

Chad Wayne Ayres on behalf of Creditor Progress Bank
cayres@wilmerlee.com

Richard M Blythe
Richard_Blythe@alnba.uscourts.gov, courtmaildec@alnba.uscourts.gov

Eric J. Breithaupt on behalf of Creditor United Community Bank
ebreithaupt@stites.com, ayarborough@stites.com

J Thomas Corbett
jtom_corbett@alnba.uscourts.gov, courtmailbir11@alnba.uscourts.gov

Charles Paul Davis on behalf of Creditor Cornerstone Bank
pdavis@cpdlaw.com, lyoung@cpdlaw.com;jgrayson@cpdlaw.com;mbeach@cpdlaw.com

S. Keith Eady on behalf of Creditor Federal National Mortgage Association (Fannie Mae)
ECFBKAL@rcolegal.com, rcofilings@ecf.courtdrive.com;keady@ecf.courtdrive.com




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Kelley Askew Gillikin on behalf of Creditor ALA DEPT OF REVENUE LEGAL DIVISION P
O BOX 320001 MONTGOMERY, AL 36132-0001
kelley.gillikin@revenue.alabama.gov

Bradley Richard Hightower on behalf of Creditor First Commercial Bank, Division of Synovus
Bank
brhightower@csattorneys.com, brad--hightower-1605@ecf.pacerpro.com

Bradley Richard Hightower on behalf of Creditor PNL SV, LLC
brhightower@csattorneys.com, brad--hightower-1605@ecf.pacerpro.com

Joe A. Joseph on behalf of Creditor First Tennessee Bank National Association
jjoseph@burr.com, mivey@burr.com;dbutts@burr.com

Goodman G. Ledyard on behalf of Creditor BANK OF AMERICA, N.A.
gledyard@pierceledyard.com, sweiss@pierceledyard.com

Stuart M Maples on behalf of Creditor Sevier County Bank
smaples@mapleslawfirmpc.com,
kwalker@mapleslawfirmpc.com;kpickett@mapleslawfirmpc.com;dmaples@mapleslawfirmpc.c
om

Diane C Murray on behalf of Creditor Seterus, Inc.
ndbankruptcy@sirote.com

Richard E. O'Neal on behalf of Creditor Insolvency Section Internal Revenue Service
USAALN.BANKRUPTCY@usdoj.gov

Daniel D Sparks on behalf of Creditor First Commercial Bank, Division of Synovus Bank
ddsparks@csattorneys.com, dan-sparks-9722@ecf.pacerpro.com

Daniel D Sparks on behalf of Creditor PNL SV, LLC
ddsparks@csattorneys.com, dan-sparks-9722@ecf.pacerpro.com

Daniel D Sparks on behalf of Creditor Synovus Bank
ddsparks@csattorneys.com, dan-sparks-9722@ecf.pacerpro.com

Ray Uhrig on behalf of Creditor Cobblestone Condominium Assoc.
ray@uhriglaw.com, paralegal@uhriglaw.com

Donald M Wright on behalf of Creditor SETERUS, INC.
dwright@sirote.com




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Contacted by U.S. Mail:

BSI Financial Services
1425 Greenway Drive, Ste 400
Irving, TX 75038

Liberty Community Association, Inc.
c/o Lueder, Larkin & Hunter, LLC
5900 Windward Parkway, Suite 390
Alpharetta, GA 30005

SPECIALIZED LOAN SERVICING LLC
8742 Lucent Blvd, Suite 300
Highlands Ranch, CO 80129

US Bank Trust N.A., as trustee of Bungalow Series F Trust
c/o BSI Financial Services
1425 Greenway Dr., Ste 400
Irving. TX 75038




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